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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF OKLAHOMA

TAYLOR G. MAPLES,                                             )
                                                              )
                                   Plaintiff,                 )
                                                              )
v.                                                            )         No. CIV-22-358-R
                                                              )
MARTIN B. SANCHEZ; and                                        )
FLASH FRIDAY DEPENDABLE                                       )
CARRIERS,                                                     )
                                                              )
                                   Defendants.                )

                                                    ORDER

        Defendant Flash Friday Dependable Carriers has filed a Motion to Dismiss [Doc. 3]

seeking to dismiss Counts III and IV of Plaintiff’s Petition1, as they state causes of action

against Flash Friday, which is not a proper party to this suit. Plaintiff has confessed the

Motion [Doc. 9], and Defendant’s Motion is therefore granted.

        IT IS THEREFORE ORDERED that Flash Friday Dependable Carriers is dismissed

from this action, and that Counts III and IV of Plaintiff’s Petition are dismissed.

        IT IS SO ORDERED this 24th day of May 2022.




1
 Plaintiff originally filed this action in the District Court of Oklahoma County, and Defendants subsequently removed
the case to this Court.
